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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


 DANIEL LEO, JR.,

              Plaintiff,

       v.                                               16-CV-36
                                                        DECISION AND ORDER
 SELIP & STYLIANOU LLP,

 MITCHELL SELIP,

 DAVID A. COHEN, and

 MITCHELL G. SLAMOWITZ,

              Defendants.




 DANIEL LEO, JR.,

              Plaintiff,

       v.                                               16-CV-41
                                                        DECISION AND ORDER
 CYPRESS FINANCIAL RECOVERIES,
 LLC,

              Defendants.



      In these two cases, the plaintiff, Daniel Leo, Jr., brings separate claims under the

Fair Debt Collection Practices Act (“FDCPA”). In January 2016, the defendants

removed each case to this Court from the City Court of the City of Lackawanna, New

York. No. 16-CV-36, Docket Item 1; No. 16-CV-41, Docket Item 1. The defendants in

each proceeding moved to disqualify the plaintiff’s counsel, Mitchell Pashkin, Esq.,
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based on his prior employment at a law firm—Selip & Stylianou (the “Selip Firm”)—

named as a defendant in No. 16-CV-36. No. 16-CV-36, Docket Item 11; No. 16-CV-41,

Docket Item 7. In addition to being a defendant in one action, the Selip Firm represents

Cypress Financial Recoveries (“Cypress”) in the other. No. 16-CV-36, Docket Item 11;

No. 16-CV-41, Docket Item 7. On May 17, 2016, the plaintiff moved to strike the

defendants’ motions to disqualify, No. 16-CV-36, Docket Item 13; No. 16-CV-41, Docket

Item 9, and on May 26, 2016, the plaintiff otherwise responded to the defendants’

motions to disqualify, No. 16-CV-36, Docket Item 15; No. 16-CV-41, Docket Item 11.

On June 3, 2016, the defendants replied. No. 16-CV-36, Docket Item 17; No. 16-CV-

41, Docket Item 13.

       The defendants also have moved to consolidate these cases. No. 16-CV-36,

Docket Item 4.

       For the following reasons, the defendants’ motions to disqualify Pashkin are

denied, but their motion to consolidate is granted. The plaintiff’s motions to strike are

denied as moot. 1


                                     BACKGROUND


       Pashkin worked at the Selip Firm when it was known as Cohen & Slamowitz (“the

“Cohen Firm”) from June 2011 to January 2014. Docket item 16 at 1. The Selip Firm

represents financial services institutions in consumer collection matters. Docket Item 11




       1Because the papers relevant to this question are identical in both proceedings,
this Court will cite only the record in No. 16-CV-36 unless otherwise noted.

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at 12. According to defendant Mitchell Slamowitz, Cypress is a “longstanding firm

client” of the Selip Firm. Id.

       While employed at the Cohen Firm, Pashkin first served as an assistant

managing attorney and then as a managing attorney. Docket Item 11 at 13, 17.

According to Pashkin’s resume, among other duties, he “[m]anaged affirmative and

defensive litigation throughout New York State on behalf of several national and state

chartered banks and non-bank creditors including managing expenditures on outside

appearance counsel and managing resources and the priorities of the attorneys and

support staff to assist firm in meeting its monthly client goals.” Id. at 17. He also

“[d]efended national and state chartered banks, debt buyers and employers against

alleged violations of the FDCPA.” Id. at 19.

       According to Slamowitz, Pashkin’s duties also included “ensuring the firm’s

procedures were compliant with its clients’ expectations and the legal requirements

applicable to consumer debt litigation.” Id. at 13. Slamowitz says that FDCPA “suits

and counterclaims are frequently asserted against [the Selip Firm] and its clients in light

of the nature of the legal work.” Id. But Pashkin says that “[m]ost of [his]

responsibilities at [the Selip Firm] had nothing to do with FDCPA defense litigation.”

Docket Item 16 at 2. Instead, he asserts that his “main responsibilities were the

management of all the affirmative litigation against consumers on behalf of [the Selip

Firm’s] clients, the management and teaching of the associate attorneys and the direct

handling of a case load of thousands of files mostly dealing with defending

counterclaims against certain clients.” Id.




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       Slamowitz asserts that while working at the Cohen Firm, “Pashkin had

confidential and proprietary information about each of [the Selip Firm’s] major clients,

including [Cypress], regarding the client’s defense tactics and settlement parameters.”

Docket Item 11 at 13. But Pashkin does “not believe that [the firm] represented any

client in regard to any debt allegedly owed by [Leo]” when Pashkin worked at the Cohen

Firm. Docket Item 16 at 1.


                                        DISCUSSION


I.     MOTION TO DISQUALIFY

       The defendants have moved “to disqualify [Pashkin] pursuant to New York State

Rule of Professional Conduct 1.9.” Docket Item 11 at 6. For the following reasons, this

Court denies that motion in each case.

       “The authority of federal courts to disqualify attorneys derives from their inherent

power to ‘preserve the integrity of the adversary process.’” Hempstead Video, Inc. v.

Inc. Vill. of Valley Stream, 409 F.3d 127, 132 (2d Cir. 2005) (quoting Bd. Of Educ. v.

Nyquist, 590 F.2d 1241, 1246 (2d Cir. 1979)). “In exercising this power, [courts] have

attempted to balance ‘a client’s right freely to choose his counsel’ against ‘the need to

maintain the highest standards of the profession.’” Id. (quoting Gov’t of India v. Cook

Indus., Inc., 569 F.2d 737, 739 (2d Cir. 1978)). Courts considering “disqualification

motions often benefit from guidance offered by the American Bar Association (ABA) and

state disciplinary rules,” but “such rules merely provide general guidance and not every

violation of a disciplinary rule will necessarily lead to disqualification.” Id.

       The defendants argue that Pashkin’s involvement in this matter conflicts with the

principles in Rule 1.9 of the New York Rules of Professional Conduct:

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       (a) A lawyer who has formerly represented a client in a matter shall not
           thereafter represent another person in the same or a substantially
           related matter in which that person’s interests are materially adverse to
           the interests of the former client unless the former client gives informed
           consent, confirmed in writing.

       (b) Unless the former client gives informed consent, confirmed in writing, a
           lawyer shall not knowingly represent a person in the same or a
           substantially related matter in which a firm with which the lawyer formerly
           was associated had previously represented a client:

                     (1) whose interests are materially adverse to that person; and

                     (2) about whom the lawyer had acquired information
                         protected by Rule 1.6 [(relating to confidential information)]
                         or paragraph (c) of this Rule that is material to the matter.

       (c) A lawyer who has formerly represented a client in a matter or whose
           present or former firm has formerly represented a client in a matter shall
           not thereafter:

                     (1) use confidential information of the former client protected
                         by Rule 1.6 to the disadvantage of the former client, except
                         as these Rules would permit or require with respect to a
                         current client or when the information has become
                         generally known; or

                     (2) reveal confidential information of the former client
                         protected by Rule 1.6 except as these Rules would permit
                         or require with respect to a current client.

Although rules such as Rule 1.9 provide guidance, “disqualification is only warranted

where ‘an attorney’s conduct tends to taint the underlying trial,’ because other ethical

violations can be left to federal and state disciplinary mechanisms.” Hempstead Video,

409 F.3d at 132 (quoting Nyquist, 590 F.2d at 1246). That being said, in language

similar to that in Rule 1.9, the Second Circuit has found that

       [i]n cases of successive representation, . . . an attorney may be disqualified
       if:

       (1) the moving party is a former client of the adverse party’s counsel;




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       (2) there is a substantial relationship between the subject matter of the
           counsel’s prior representation of the moving party and the issues in the
           present lawsuit; and

       (3) the attorney whose disqualification is sought had access to, or was likely
           to have had access to, relevant privileged information in the course of
           his prior representation of the client.

Id. at 133 (quoting Evans v. Artek Sys. Corp., 715 F.2d 788, 791 (2d Cir. 1983)).

       In this case, the parties do not dispute the first factor: Pashkin was a lawyer (1)

who worked at a firm that is a defendant in one case and (2) who represented a client

that is the defendant in the other case. See id. (“An attorney’s conflicts are ordinarily

imputed to his firm based on the presumption that ‘associated’ attorneys share client

confidences.”). But the parties dispute whether the relationship between the subject

matter of the present proceedings and the subject matter of Pashkin’s prior

representation is sufficiently “substantial” to require Pashkin’s disqualification. See id.

In considering that question, this Court is guided by the commentary to Rule 1.9, which

provides:

       The scope of a “matter” for purposes of this Rule depends on the facts of a
       particular situation or transaction. The lawyer’s involvement in a matter can
       also be a question of degree. When a lawyer has been directly involved in
       a specific transaction, subsequent representation of other clients with
       materially adverse interests in that transaction clearly is prohibited. On the
       other hand, a lawyer who recurrently handled a type of problem for a former
       client is not precluded from later representing another client in a factually
       distinct problem of that type, even though the subsequent representation
       involves a position adverse to the prior client. . . . The underlying question
       is whether the lawyer was so involved in the matter that the subsequent
       representation can be justly regarded as a changing of sides in the matter
       in question.

N.Y. Rule Prof’l Conduct 1.9, cmt. 2. And according to another comment,

       [m]atters are “substantially related” . . . if they involve the same transaction
       or legal dispute or if, under the circumstances, a reasonable lawyer would
       conclude that there is otherwise a substantial risk that confidential factual
       information that would normally have been obtained in the prior

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       representation would materially advance the client’s position in the
       subsequent matter.

Id., cmt. 3. “In the case of an organizational client, general knowledge of the client’s

policies and practices ordinarily will not preclude a subsequent representation.” Id.

       In Olajide v. Palisades Collection, United States District Judge Jesse M. Furman

addressed a similar motion to disqualify Pashkin in a case where Pashkin represented a

plaintiff suing another former client of the Selip firm. 2016 WL 1448859, at *1 (S.D.N.Y.

Apr. 12, 2016). As in this case, there was no dispute that the Cohen Firm, and

therefore Pashkin, had represented the defendant in that case. Id. at *3. Therefore,

Judge Furman explained, the motion to disqualify turned “on the ‘substantial

relationship’ factor.” Id.

       Judge Furman denied the motion because the defendants were unable to show a

substantial relationship between the issues in the prior cases and that case. Id. at *3-

*4. He explained that “there is no suggestion—let alone evidence—that Plaintiff’s

account was among the debt-collection matters that [the Cohen firm] or Pashkin

handled on behalf of [the defendant].” Id. at *4. Therefore, the defendants were

required to “show that there is a ‘substantial relationship’ between the matters upon

which Pashkin (or at a minimum, [the Cohen Firm]) actually did work and [that] case,

such that ‘confidential factual information normally obtained in the prior representation

would materially advance’ Plaintiff’s . . . cause of action.” Id. (quoting N.Y. Rule Prof’l

Conduct 1.9, cmt 3.). Judge Furman determined that the defendant’s claims—that the

Cohen Firm performed legal services on 1,404 accounts referred by the defendant

during the time that Pashkin was at the firm and that Pashkin would have been privy to

the business practices, procedures, and protocols of his clients, including the


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defendant—did “not support a finding that ‘material facts of the prior representations are

necessary to the present litigation.’” Id. (quoting New York v. Monfort Trust, 2014 WL

5018607, at *5 (E.D.N.Y. Oct 7, 2014)). Judge Furman determined that “[a]t most, [the

defendant] establishe[d] that Pashkin ‘recurrently handled’ (or at least supervised)

‘factually distinct’ matters of the same ‘type’ as [that] suit, and may have had ‘general

knowledge’ of [the defendant’s] ‘policies and practices,’ but that is not enough to warrant

disqualification.” Id. (quoting N.Y. Rule Prof’l Conduct 1.9, cmts. 2-3). “In short,

because [the defendant] fails to identify ‘knowledge of specific facts gained in [the

Cohen Firm’s] prior representations that are relevant’ to this case, it fail[ed] to show that

Pashkin’s representation runs afoul of Rule 1.9 or that disqualification is necessary.” Id.

(quoting N.Y. Rule of Prof’l Conduct 1.9, cmt. 3).

       Like Judge Furman in Olajide, this Court finds that Pashkin is not disqualified

from representing the plaintiff in these cases. Neither side suggests that Leo’s debts

were among the matters that the Cohen Firm handled—for Cypress or otherwise—while

Pashkin worked there. Therefore, the defendants “must show that there is a ‘substantial

relationship’ between the matters upon which Pashkin (or, at a minimum, [the Cohen

Firm]) actually did work and this case, such that ‘confidential factual information

normally obtained in the prior representation would materially advance’ [Leo’s] present

cause of action.” Id. (quoting N.Y. Rule Prof’l Conduct 1.9 cmt. 3).

       As in Olajide, the defendants contend here that Pashkin’s work at the Cohen

Firm permitted him generally to have “confidential and proprietary information about

each of [the Selip Firm’s] major clients, including [Cypress], regarding the client’s

defense tactics and settlement parameters.” Docket Item 11 at 13. According to the



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defendants, that information is “extremely useful to Pashkin in his current position as an

attorney representing debtors.” Id. Nevertheless, the fact “that Pashkin ‘recurrently

handled’ (or at least supervised) ‘factually distinct’ matters of the same ‘type’ as this suit

and may have had ‘general knowledge’ of [the defendants’] ‘policies and practices,’ . . .

is not enough to warrant disqualification.” Olajide, 2016 WL 1448859, at *4 (quoting

N.Y. Rule Prof’l Conduct 1.9, cmts. 2-3). As in Olajide, the defendants here have failed

“to identify ‘knowledge of specific facts gained in [the Cohen Firm’s] prior

representations that are relevant’ to this case,” and they therefore have failed “to show

that Pashkin’s representation runs afoul of Rule 1.9 or that disqualification is

necessary.” Id. (quoting Rule 1.9, supra, cmt. 3).

       For at least two reasons, “an attorney’s conduct [must] ‘taint the underlying trial”’

to disqualify the attorney from a case. Nyquist, 590 F.2d at 1246 (quoting W.T. Grant

Co. v. Haines, 531 F.2d 671, 678 (2d Cir. 1976)). First, “disqualification has an

immediate adverse effect on the client by separating him from counsel of his choice.”

Id. Second, “disqualification motions are often interposed for tactical reasons.” Id.

“And even when made in the best of faith, such motions inevitably cause delay.” Id.

Here, Pashkin’s former client was organizational and in “the case of an organizational

client, general knowledge of the client’s policies and practices ordinarily will not

preclude a subsequent representation.” N.Y. Rule Prof’l Conduct 1.9, cmt. 3. For that

reason, and because the defendants have offered nothing more than assertations about

Pashkin’s prior knowledge, he is not disqualified. 2



       2 In Wai Hoe Liew v. Cohen & Slamowitz, LLP, United States District Judge Kiyo
A. Matsumoto determined that Pashkin was disqualified from a case because of his
work at the Cohen Firm. 2015 WL 5579876, at *11 (E.D.N.Y. Sept. 22, 2015). But for
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II.    MOTION TO CONSOLIDATE

       The defendants also have moved to consolidate these cases. Docket Item 4.

“Rule 42(a)—entitled ‘consolidation’—provides that if ‘actions before the court involve a

common question of law or fact, the court may’ . . . ‘consolidate the actions.’” Hall v.

Hall, 138 S. Ct. 1118, 1124 (2018).(quoting Rule 42(a)(2)). Rule 42(a) “should be

prudently employed as ‘a valuable and important tool of judicial administration.’” Devlin

v. Transp. Commc’ns Int’l. Union, 175 F.3d 121, 130 (2d Cir.1999) (quoting Consorti v.

Armstrong World Ind., 72 F.3d 1003, 1006 (2d Cir. 1995)). It should be “invoked to

‘expedite trial and eliminate unnecessary repetition and confusion.’” Id. (quoting Miller

v. U.S. Postal Serv., 729 F.2d 1033, 1026 (5th Cir. 1984)). “[C]onsolidation should be

considered when ‘savings of expense and gains of efficiency can be accomplished

without sacrifice of justice.’” Id. (quoting Consorti, 72 F.3d at 1007) (emphasis in

original).

       These cases involve common questions of law and fact. In both proceedings,

Leo’s claims stem from the same letters that the Cohen Firm mailed him on behalf of

Cypress at his parents’ address on August 21, 2014, and on September 9, 2014. No.



the reasons explained by the court in Olajide, and unlike this case and Olajide, the Wai
Hoe Liew case was substantially related to specific matters that Pashkin had worked on
while at the Cohen Firm. 2016 WL 1448859, at *4. In Wai Hoe Liew, “Pashkin
represented three individual plaintiffs who were suing [the Cohen Firm] on a theory of
liability identical to that pursued in a class action lawsuit against [the Cohen Firm] when
Pashkin worked at the firm.” Id. Two of the individual plaintiffs in Wai Hoe Liew
“received notice to participate as class members” of the class action litigation that
Pashkin defended against while employed at the Cohen Firm. 2015 WL 5579876, at *6.
Those plaintiffs “opted not to join as members of the class.” Id. And “Pashkin [did] not
dispute that the [Wai Hoe Liew] case [was] the same case with respect to [two plaintiffs]
and [was] substantially similar with regard to [another].” Id. That is far different than the
situation in Olajide and here.

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16-CV-36, Docket Item 1 at 10-12; No. 16-CV-41, Docket Item 1 at 9. In both

proceedings, Leo claims that the very same letters violated his rights under the FDCPA

and that those letters deceived him in violation of New York State General Business

Law § 349.

       What is more, the cases can be consolidated without sacrificing justice. Leo

argues that the cases should not be consolidated because Cypress’s liability may turn

on whether the defendants in the other matter are liable. Docket Item 6 at 2. Therefore,

he argues “the case against Cypress . . . should be stayed until the conclusion of” the

other case. Id. But even assuming that Leo is correct on that point, his argument is a

non sequitur: he offers no reason why he would be prejudiced or justice would

otherwise be sacrificed by considering all his claims together and at the same time.

“[A]ctions do not lose their separate identify because of consolidation.” Hall, 138 S. Ct.

at 1130 (quoting Bank Markazi v. Peterson, 136 S. Ct. 1310, 1327 (2016)). And if

timing is a problem for some reason, consolidation will not preclude dealing with that

problem. Just because the cases are consolidated does not mean that Cypress’s

liability must be determined simultaneously with that of the other defendants.

       Furthermore, Leo’s argument that “consolidation is inappropriate ‘in light of the

differences in the procedural posture of the cases,’” Docket Item 6 at 3 (quoting

Shakhnes v. Eggleston, 740 F. Supp. 2d 602, 629 (S.D.N.Y. 2010)), is without merit.

Unlike Shakhnes, where the court refused to consolidate class actions when one case

“ha[d] proceeded for four years[,] . . . ha[d] completed discovery, and [was] ripe for

summary judgment,” while the other case “was much more recently filed and [was] still




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in its nascent stages,” 740 F. Supp. 2d at 629, both these cases are presently

proceeding on the same schedule before this Court.

         Therefore, the defendant’s motion to consolidate is granted. 3


                                       CONCLUSION


         For the foregoing reasons, the defendants’ motions to disqualify Pashkin as

counsel are DENIED. The defendants’ motion to consolidate the cases, No 16-CV-36,

Docket Item 4, is GRANTED. The plaintiff’s motions to strike are DENIED as moot.

The Clerk of Court shall consolidate the cases under civil number 16-CV-36 and close

the case bearing civil case number 16-CV-41. All further docketing shall occur in 16-

CV-36.

         SO ORDERED.

Dated:           May 31, 2019
                 Buffalo, New York



                                                s/ Lawrence J. Vilardo
                                               LAWRENCE J. VILARDO
                                               UNITED STATES DISTRICT JUDGE




         3
         Leo makes a series of other arguments against consolidation in relation to the
possibility of his counsel’s disqualification. Docket Item 6 at 7-11. But because this
Court has resolved the defendants’ motions to disqualify Leo’s counsel in Leo’s favor,
those arguments against consolidation are moot.

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